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UN|TED STATES DlSTRlCT COURT
MlDDLE DlSTRlCT OF FLOR|DA
JACKSONV|LLE DlVlSlON
MlCHAEL N. PHAN,

P|aintiff,
vs. Case No.: 3:14-cv-84-J-25 JBT

CONVERGENT OUTSOURC|NG, lNC., et al,

Defendants.

ORDER

 

THlS CAUSE is before the Court on Defendant Convergent Outsourcing
|nc.’s Motion to Dismiss Case With Prejudice and to impose Additional Sanctions
for Fraud, Perjury, Fabrication of Evidence and/or Bad Faith (Dkt. 79). The Court
held an evidentiary hearing on the motion on March 17, 2015.
Background

This is a Te|ephone Consumer Protection Act (TCPA) case; Defendant is a

debt collector.1 Pro se P|aintiff alleges in his Amended Comp|aint (Comp|aint)

 

' P|aintiff is no stranger to this court. According to Defendant, he has filed
more than 25 cases in the last few years and this Court previously noted that at
one point, P|aintiff had filed ten in forma pauperis cases in thirteen months. 3:08-
cv-990-J-25JRK, Dkt. 6, page 2, n. 1. The Court also previously noted that during
this time period, P|aintiff evidently purchased a new car and his vehicle expenses
rose dramatica||y, to $1,357 month|y.

Of note, Defendant’s counsel has asserted that P|aintiff has recently filed
other TCPA cases in this court that contain fabricated allegations Counse|
maintained that in a case involving a different defendant, P|aintiff alleged over 37 calls
were made to his cellular telephone but the defendant’s records demonstrate that it
placed no calls to the relevant number. |n another case, P|aintiff and his wife alleged
that a different debt collector placed calls to another cell phone they owned but that

 

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(Dkt.32) that Defendant called his cellular telephone (ce|| phone) twenty-seven
times in March of 2010 in an attempt to collect on one of his wife’s accounts. He
further alleges that these calls violated 47 U.S.C. Section 227 because they were
initiated by an automatic dia|er and were made without prior express consent.

|n his Comp|aint and in several of his pleadings, P|aintiff maintains he took a
“screen shot" or a “|ive screen shot" of his cell phone to memorialize each call and
then used the screen shots to produce a call log for record keeping.2 P|aintiff
attached a sample of the screen shots and the call log to his Comp|aint.

On March 12, 2014, Defendant filed a IVlotion to Deem P|aintiff a Vexatious
Litigant and for Order to Post Bond (Dkt.18). in the motion, Defendant argued that
P|aintiff's allegations were meritless; Defendant did not place any calls to P|aintiff's
cell phone at any point in time. I\/loreover, Defendant maintained it was not
attempting to collect on the relevant account during the time frame alleged in the
Comp|aint. On May 27, 2014, this Court held a hearing on the motion. At the

hearing and in an affidavit filed prior to the hearing, P|aintiff insisted that the

 

defendant’s records also showed that there were no calls placed to the relevant number.
Of course, the Court does not make any findings regarding the other cases.

2 P|aintiff's Amended Comp|aint alleges, inter alia, the following:

Each incoming call that P|aintiff received from Convergentl he took a screenshot
for that ca|l. A true and accurate copy of the screenshot is attached as Exhibit H.
Using the screenshot, P|aintiff documented each and every call using Microsoft Words
(sic) for which he created a call log for record keeping.
Dkt. 32 at 1111 33 & 34.

 

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Comp|aint’s allegations were accurate and supported by evidence.

Given the fact that discovery was ongoing, the Court entered an Order
denying the motion. The Order noted that P|aintiff denied Defendant’s contention
that the case against it was fabricated and stated it would take P|aintiff at his word

that his case had merit at that point in the proceeding.3 “

 

3 During the hearing, the following exchange occurred:

MR. PHAN: Your Honor, at -- regarding to the facts that Mr. McHale raised in this
instant matter, the plaintist amended complaint clearly state a claim.
THE COURT: What about the original complaint?
MR. PHAN: The original complaint ~-
THE COURT: Did you make misleading allegations or --
MR. PHAN: Nol Your Honor.
THE COURT: - improper or wrong allegations in that amended -- in that original
complaint?
MR. PHAN: Your Honor, no. The original complaint state enough fact present to the
Courtl but the amended complaint had evidence support the facts.
THE COURT: Well, let me -- let me - let’s be clear. You do know if you’re fabricating
facts and putting them in the complaintl it’s a criminal offense. You know thatl don’t
you?
MR. PHAN: Yes, Your Honor.
THE COURT: And you’re telling me you aren’t doing that; is that right?
MR. PHAN: No, Your Honor, absolutely not.
THE COURT: And you’re prepared, if this case goes to trial, to actually prove these
allegations that you made in these complaints
MR. PHAN: Yesl Your Honor. |'m prepared to prove the element of the TCPA -
THE COURT: Well, are you prepared to prove what you’re charging in these complaints
you’re filing?
MR. PHAN: Yes, Your Honor.

Dkt. 71, pages 14 -15.

“ At the hearing, Defendant’s counsel also stated that based on his personal
communications with P|aintiff, it appeared that he had forwarded certain calls from one
of his telephone numbers to another, possibly to create a cause of action under the
TCPA; the TCPA only applies to cellular telephones. Evidently, the relevant calls were
received on P|aintiff's landline and then forwarded to his cellular telephone. This
observation is interesting, but the Court does not make any factual nndings regarding
this issue.

 

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The instant motion essentially reiterates Defendant’s position that P|aintiff's
Comp|aint contains allegations that have been proven false. The motion is
supported not only by ample evidence demonstrating it never called P|aintiff's cell
phone, it is also supported with evidence that P|aintiff committed perjury and
fabricated evidence in this case.

Regarding the disputed evidence, Defendant specifically points to the
previously mentioned screen shots and the log generated from them as well as
P|aintiff’s pleadings and statements at the May 2014 hearing. As to the
screenshotsl Defense counsel questioned P|aintiff about them during his
November 2014 deposition:

Q. Okay. Exhibit H to the amended complaint, again, is copies of
screenshots. And my question to you isl when did you receive or
create this document?

A. Sometime in April 2014.

Q. And if Exhibit H is a screenshot of each incoming call that
plaintiff received from Convergent, why is -- why does not the 1-800
number appear in those records?

A. l do not know.

Q. At this time, again, |'d like to refer your attention to Exhibit H to
the amended complaint, which is Exhibit No. 5 to this deposition
And with respect to Exhibit H, when was Exhibit H created?

A. l already answered that question.

Q. And you’re refusing to answer it again?

A. l believe l say that it was April 2014.

Q. So you didn’t create Exhibit H in 2010?

A. | did not create this document. lt was received during discovery,
April 2014.

Q. When you say Exhibit H was received during discovery, what do
you mean?

 

 

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A. lt was obtained from a third party.
Q. What third party did you obtain Exhibit H from?
A. From a software company that l do not recall. lt's from the lnternet. This
document -- l did not create this document.
Q. What software company created Exhibit H to the amended complaint for
you?
A. l do not recall. lt was a free - it’s available online.
Dkt. 79-10 (ex. J) at pages 45 - 6, 53 - 4 and 64 - 6 (emphasis added).

As Defendant points out, P|aintiff has referred to the screen shots and/or call log
he produced using the screen shots to support his allegations throughout this
proceeding These pleadings include P|aintiffs sworn affidavit filed in support of his
response to the Motion to Declare P|aintiff a Vexatious Litigant (Dkt. 20), his original
Motion for Partial Summary Judgment (Dkt. 66), his second Nlotion for Partial Summary
Judgment (Dkt. 69) and as recently as March 24, 2015, in his response to the motion
presently before the Court.5

At the hearing on the instant motion, Defendant noted that not one of the allegedly

unlawful calls appeared on the relevant AT&T telephone records which P|aintiff received

prior to his deposition but produced only after his deposition was complete.6 ln response,

 

5 ln P|aintiff's latest post-hearing filing, he continues to insist Defendant made
the calls in questionl despite the evidence to the contrary. Dkt. 98, filed March 24, 2015.
|n this pleading, he continues to refer to his "live screen shots" despite previously
admitting in his sworn deposition that the “|ive screen shots" were created by an
unidentified internet company years after Defendant allegedly called him. Id. at p. 4.

6 Evidently, P|aintiff requested the records from AT&T during discovery but then
withdrew his request. He eventually re-submitted the request and received the records
prior to his deposition As noted, P|aintiff did not produce the records until after the
close of discovery and after his deposition was taken. At P|aintiff's deposition, he
testified as follows:

 

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P|aintiff represented to the court that the phone records did not show any of the unlawful
telephone calls because they were less than a minute in duration.7 According to
P|aintiff’s representations in court and in his response to the motion, his 2010 cell phone
plan did not log these brief calls per AT&T policy. P|aintiff also maintained that his phone
bill does not list the calls at issue because AT&T does not keep a record of “unknown or
blocked” cal|s.

P|aintiff did not produce any evidence to back up these assertions and Defendant
rebutted P|aintiff’s statements by pointing out multiple calls logged on P|aintiff’s itemized
bill that were less than a minute and in many cases zero seconds in duration. The
phone bill clearly demonstrates that Plaintiffs oral and written representations to the
Court were false.

At the hearing, P|aintiff also denied the assertion that he fabricated the screen

 

Q. At any time, did you request your cell phone records from AT&T,
relative to the time period of March 9th, 2010, to March 26th, 2010?
A. Yes.

Q. When did you subpoena your AT&T cell phone records for time
period March 9th, 2010, through March 26th, 2010?

A. The first time, it was in March of 2014, and l withdraw that
request. The second time, it was in September of 2014.

Q. And do you know the date upon which you received a response to
your subpoena from AT&T?

A. l do not recall specifically, but it was provide sometime after October
2014.

Dkt. 79-10 at pages 33-35.

’ ln P|aintist written response to the motionl he asserted the cutoff duration was
30 seconds

 

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shots or caused them to be fabricated. Of course, Defendant pointed to P|aintiff’s
deposition testimony on this issue; when pressed, P|aintiff testified that he had the
screen shots created by an undisclosed internet company years after he received the
calls The term screen shot refers to the act of copying what is currently displayed on an
electronic screen. implicit in P|aintiff's use of this term is the understanding that he took
the screen shots when he received alleged calls. Thus, Defendant argues that P|aintiff
has committed perjury, fabricated facts and evidence and misled this Court. ln its
motion, Defendant maintains:

This is n_ot a case where P|aintiff was mistaken about the number of calls that

he received from Defendant or the dates when he received calls from

Defendant. This is n_ot a case where a plaintiff is mistaken regarding the

numbers of calls that were received. This is n_ot a case where P|aintiff was

mistaken as to the identity of the entity calling him... This is a case in which

P|aintiff-after being cautioned by a federal judge-decided to manufacture

evidence to support the fraudulent allegation that he received twenty-seven

(27) calls from [Defendant] Convergent in violation of the TCPA. (emphasis in

original)
Standard

Rule 11 sanctions are proper “(1) when a party files a pleading that has no
reasonable factual basis; (2) when the party iles a pleading that is based on a legal theory

that has no reasonable chance of success and that cannot be advanced as a reasonable

 

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argument to change existing law; and (3) when the party files a pleading in bad faith for an
improper purpose.” Jones v. /nt'l Riding Helmets, Ltd., 49 F.3d 692, 694 (11th Cir.
1995)(internal citation omitted).

Further, 28 U.S.C. Section 1927 provides, "Any attorney or other person admitted
to conduct cases in any court of the United States or any Territory thereof who so
multiplies the proceedings in any case unreasonably and vexatiously may be required
by the court to satisfy personally the excess costs, expenses and attorneys’ fees
reasonably incurred because of such conduct" (emphasis added). lt is unclear whether
Section 1927 may be applied to a non-lawyer. Fei'ngold v. Graff, 516 Fed. Appx. 223,
229 n.9 (3rd Cir.2013)(unpublished)(interna| citation omitted).

Regardless, the Court has the inherent authority to sanction litigants However,
“[i]nvocation of a court's inherent power requires a finding of bad faith.” ln re Mroz, 65
F.3d 1567, 1575 (11th Cir.1995).

Analysis

As a threshold issuel the Court notes that both sides agree this case should be
dismissed; the only issue before the Court is whether P|aintiff should pay sanctions for
his deceptive acts in this litigation.

First, P|aintiff's allegation in his Comp|aint that Defendant placed 27 calls to his
cellular phone in violation of the TCPA between March 9, 2010 and March 26, 2010 is
false. P|aintiff not only strains the Court's limited resources but also forced Defendant

to incur significant expenses in responding to the Comp|aint as well as P|aintiff’s other

 

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improper filings in this case.

Further, P|aintiffs AT&T cell phone records demonstrate that Defendant did not
place a single call to the relevant phone number. P|aintiff has made false statements
and/or committed perjury in a sworn affidavit, at his deposition, and before the Court at
both his May 2014 and March 2015 hearing.

Defendant’s most egregious charge is that P|aintiff manufactured evidence,
namely the screen shots and log produced from them, to support his allegations The
Court finds that P|aintiff did indeed fabricate this evidence.

This Court would ordinarily avoid sanctioning a pro se litigant and has taken
P|aintiff’s unrepresented status into account, affording him every possible benefit of the
doubt. However, the Court has no problem in this case making a finding of bad faith,
that P|aintiff brought this case for an improper purpose and vexatiously multiplied the
proceedings

Simp|y put, P|aintiff did not simply misconstrue the law; he essentially committed
fraud upon the Court and sanctions under the Court's inherent authority are clearly
approproriate. in addition, this Court refers this matter to the United States Attorney for
the Midd|e District of Florida for whatever action is deemed appropriate, including
possible prosecution if warranted. According|y, it is ORDERED:

Defendant Convergent Outsourcing lnc.’s Motion to Dismiss Case With
Prejudice and to impose Additiona| Sanctions for Fraud. Perjury, Fabrication of

Evidence and/or Bad Faith (Dkt. 79) is GRANTED. This case is dismissed with

 

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prejudice and the clerk is directed to close it; the Court retains jurisdiction for the
purpose of imposing sanctions Defendant’s counsel is directed to file an accounting
on or before April 27, 2015 itemizing his reasonable and necessary attorneys fees and
costs incurred in defending this case. Counsel must also support his claimed hourly
rate. P|aintiff shall have until May 19, 2015 to respond to the itemization if he chooses

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Copies to:

Pro Se P|aintiff

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Julie Hackenberry, Chief Assistant United States Attorney, Jacksonvil|e Division

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